                                      General Order
                                Western District of Missouri
                            Mediation and Assessment Program
                           (Restatement Effective August 1, 2013,
                          Amendment Effective September 1, 2015,
                          Amendment Effective November 14, 2019,
                           Amendment Effective August 1, 2023)



The Alternative Dispute Resolution Act, 28 U.S.C. §§651-658, requires each district court to
authorize and administer its own ADR program. 28 U.S.C. § 651 provides, inter alia, as follows:

    Each United States district court shall devise and implement its own alternative dispute
     resolution program … to encourage and promote the use of alternative dispute resolution
     in its district.
    Each United States district court shall designate an employee, or a judicial officer, who is
     knowledgeable in alternative dispute resolution practices and processes to implement,
     administer, oversee, and evaluate the court’s alternative dispute resolution program.

The Court’s authorization of alternative dispute resolution (ADR) is through the Mediation and
Assessment Program (known as MAP or Program) with administration by the MAP Director.

Absent an express order from the judge assigned to a particular case, assignment to the
Program does not modify any other orders or deadlines imposed by the Court.

The Program addresses assignment of cases either to Early-Stage ADR or Later-Stage ADR.
Assignments to Early-Stage ADR are to Mediation (known as ADR-M), although an ADR Option
Session (known as ADR-O) may be used if approved in advance by the Director or by any Western
District Judge (Section II.A.).

Cases for Early-Stage ADR are randomly assigned to a Neutral in one of three categories: 1) MAP
Director; 2) Outside Neutral (Category I or Category II); or 3) a Bankruptcy Judge or Magistrate
Judge (known as a MAP Judge).

When cases are assigned to Category I, the parties select the Neutral (Section III.D.). When cases
are assigned to Category II, the MAP Director selects the Neutral (Section III.E.).




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I.   OVERVIEW

     A. Principles

     The Mediation and Assessment Program (MAP) uses alternative dispute resolution,
     recognizing that full formal litigation of civil claims can impose large economic and other
     burdens on parties and can delay the resolution of disputes. When Early-Stage ADR does
     not result in resolution or is not utilized for certain reasons, Later-Stage ADR may help
     resolve disputes without the need for evidentiary hearings, formal motions, and/or trial.
     Settlement is not required under the Program.

     Although parties often have different interpretations of the facts and the law, all Program
     participants must prepare for and engage in ADR in a respectful and professional manner
     consistent with Section II.A.

     Section IV, specifies that confidentiality is applicable to most ADR activities under the
     Program, including pre-ADR and post-ADR activities. The responsibilities of counsel
     under the Missouri Rules of Professional Conduct, including but not limited to Rule 4-1.2
     (Scope of Representation), Rule 4-1.4 (Communication), and Rule 4-1.1 (Competence) are
     not modified by the Program.

     B. Definitions

        1. “ADR Option Session” (ADR-O) is a session other than a Mediation with a
           Neutral who may also be referred to as a Facilitator. An ADR-O may include the
           following: mini trials, summary jury trials, facilitative communications (FC),
           arbitration, neutral evaluation (NE) or early neutral evaluation (ENE), or any other
           recognized ADR process pursuant to any pilot program of this Court or otherwise
           recognized by the Administrative Office of the U.S. Courts. Binding arbitration
           may be used only when all parties agree in writing.

        2. “Days” for computing any time period in this General Order shall be calendar days,
           but if the last day of the period falls on a Saturday, Sunday, or legal/federal holiday,
           then the period continues to run until the next day that is not a Saturday, Sunday,
           or legal/federal holiday.

        3. “Designation of Neutral” means the filing in ECF required by the parties for cases
           assigned to an Outside Neutral for ADR (Category I or Category II). A PDF fillable
           Designation of Neutral form is on the Court’s website and should be completed and
           filed as an ADR Event. A Designation of Neutral need not be filed in cases assigned
           to the MAP Director or a Bankruptcy Judge or Magistrate Judge (known as a MAP
           Judge).

        4. “Director” means the person who administers the Program. All references to
           Director refer to the Director of the Program (also known as MAP Director or


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   Program Director). The MAP Director’s responsibilities are further addressed in
   Section VII.

5. “Early-Stage ADR” is designed to encourage parties and required participants at
   an early stage in the litigation to:

   a. confront the facts and issues in their case before engaging in expensive and
      time-consuming discovery and motion procedures;

   b. engage in early and meaningful discussions of the issues;

   c. consider the views of the opposing side;

   d. consider the projected costs and risks of future proceedings in an effort to settle
      the case before costs and lawyers’ fees have made settlement more difficult;
      and

   e. consider other methods of resolving their disputes.

6. “Later-Stage ADR” is designed to encourage the parties and required participants
   at a later stage in the litigation to:

   a. consider how the ongoing litigation has impacted the initial views of the
      respective parties;

   b. consider how further formal proceedings may impact the positions of the
      parties; and

   c. consider other methods for resolving disputes without the need for further
      discovery and/or formal rulings by the Court.

7. “List of Neutrals”

   a. “Category I Neutrals” is the list of individuals maintained by the Program
      who meet the qualifications to serve as a Neutral and from which the parties
      may select a Neutral for a case assigned to Category I of the Outside Neutral
      category. (See Section III.D. and G.)

   b. “Category II Neutrals” consists of the list of individuals maintained by the
      Program who have gone through a separate application and review process with
      the Court to be on the Category II List. Individuals on the Category II List may
      be selected by the Director as a Neutral when a case is assigned to Category II.
      (See Section III.E. and G.)




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8. “MAP Judge” is a Bankruptcy Judge or Magistrate Judge assigned to a case for
   Mediation or ADR Option Session. A MAP Judge may issue any additional orders
   the MAP Judge deems appropriate consistent with the purpose of the Program.

9. “Mediation” (ADR-M) is a process in which a neutral third party (known as a
   Mediator or Neutral) assists the parties in developing and exploring their underlying
   interests and legal positions to determine possible options which may result in
   resolution of the disputes, in whole or in part.

10. “Mediator” is a neutral third party qualified to conduct a Mediation. When agreed
    to by the parties and appropriate for a case, a co-mediator may be used. Section
    III.L.

11. “Neutral” is either the MAP Director, an Outside Neutral, or a MAP Judge who
    serves as a Mediator to effectuate ADR-M or who serves as a Facilitator to
    effectuate ADR-O consistent with the purpose of the Program. Neutral may also
    include a Co-Mediator.

12. “Outside Neutral” is a person qualified to serve as a Mediator or Facilitator or in
    some other capacity in the Program to effectuate ADR-M or ADR-O and who is
    neither the MAP Director nor a Bankruptcy Judge or Magistrate Judge.

13. “Pro Se” is a party who represents himself, herself, or any pronoun variation
    thereof, in a case and does not have the assistance of counsel. A pro se party may
    have the assistance of counsel pro bono if ordered by any Western District Judge
    for a limited or broader purpose or may have the assistance of counsel pro bono for
    the limited purpose of ADR when in the Director’s discretion such assistance is
    appropriate. Pro se individuals are required to conduct themselves consistent with
    the purpose of the Program.

14. “Technology” includes innovative technology applications that when used
    appropriately can improve access to the judicial process. Use of technology in ADR
    (known as on-line dispute resolution/ODR or virtual or remote) in the Program shall
    be consistent with the privacy and security needs of the participants. If participation
    in an ADR session is permitted virtually (See Section II.F.1.), any participant using
    technology shall participate by both audio and video absent an unavoidable
    technological impairment or advance approval from the MAP Director or the MAP
    Judge assigned to a case. In the event of any virtual ADR-M or ADR-O, participants
    shall follow the Court’s guidelines for virtual sessions and familiarize themselves
    before the session with the technology that will be used and ensure that the
    technology meets applicable requirements for confidentiality.

15. “Timing” under the Program is specified more particularly herein, but Early-Stage
    ADR requires the participants to complete the initial ADR session (ADR-M or
    ADR-O) within 75 days of the Rule 26 conference, absent a written exemption or



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             modification from the MAP Director. If the case is assigned to a MAP Judge, the
             MAP Judge has the discretion to modify the deadline for the initial ADR session.

         16. “Western District Judge” means any judge within the Western District of
             Missouri, whether Article I or Article III.

II.   ADMINISTRATION

      A. Scope

      Any civil case may be assigned to Early-Stage ADR or Later-Stage ADR, though the
      following cases are typically excluded from the Program: Social Security Appeals,
      Bankruptcy Appeals, Habeas Corpus actions, Prisoner cases, Pro se cases where a motion
      for appointment of counsel is pending, Student Loan cases, and Citizenship or Immigration
      cases. The Court may adopt a pilot program for case assignments. Additionally, any
      Western District Judge or the MAP Director has the discretion to assign any case to the
      Program at any stage of the proceedings.

      All Early-Stage ADR assignments are randomly assigned to Mediation with a Neutral who
      is either:

         1. the MAP Director;
         2. an Outside Neutral (Category I or Category II); or
         3. a Bankruptcy Judge or a Magistrate Judge.

      A party may request an ADR Option Session in lieu of Mediation. If the case is assigned
      to the MAP Director or an Outside Neutral, the MAP Director has the discretion to allow
      ADR-O in lieu of ADR-M. If the case is assigned to a MAP Judge, the MAP Judge has
      the discretion to allow ADR-O in lieu of ADR-M.

      Should the parties wish to be considered for an ADR Option Session and the case has been
      assigned to an Outside Neutral, requests for ADR-O must be directed to the MAP Director
      via e-mail or facsimile within three (3) days after the Rule 26 conference.

      If the parties wish to engage in ADR-O in lieu of ADR-M but cannot agree on the method
      of ADR-O, the MAP Director may, in his or her discretion, select the method of ADR-O
      to be utilized. The MAP Director may not select binding arbitration unless all parties agree
      in writing.

      B. Notice to Parties

      Notice to the parties of cases selected for the Program shall be provided as follows:

         1. The parties will receive electronic Notice of Inclusion in the Program and
            assignment of their case to the MAP Director, a MAP Judge, or the Outside Neutral,
            Category I or Category II.


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   2. The Clerk shall mail a copy of the Notice of Inclusion to any pro se litigant who
      does not utilize ECF.

   3. In pro se matters or other matters in which the Clerk is required to issue service,
      the Notice of Inclusion shall be attached by the Clerk to each summons issued in
      such action.

   4. Plaintiff’s counsel shall serve a copy of the Notice of Inclusion on defense counsel
      in conjunction with service of the Complaint or, if applicable, Defendant’s counsel
      shall serve a copy of the Notice of Inclusion on Plaintiff’s counsel when serving a
      Notice of Removal.

C. Timing

The initial ADR session, whether ADR-M or ADR-O, shall occur within 75 days after the
Rule 26 meeting absent an extension being granted by the MAP Director. If, however, the
original MAP assignment is to a MAP Judge or the MAP Director, those individuals have
the discretion to modify timing consistent with the purpose of the Program.

If good cause exists for extension of the initial ADR session, the request shall be submitted
in writing via e-mail or facsimile to the MAP Director for consideration in accordance with
Section II.M. and shall not be filed with the Court.

D. Location

All ADR sessions shall be held in the city of the divisional office in which the case is
pending, unless otherwise agreed to in advance by the parties and approved by the person
conducting the ADR session, or unless otherwise determined in advance by the Director or
any Western District Judge.

E. Additional Sessions

Additional ADR sessions may be required at the discretion of the Director, the MAP Judge
assigned to the case, or any Western District Judge.

F. Attendance/Participation

   1. In-Person Provisions

   Required participants for Mediation or other ADR Option Session shall attend in
   person unless: a) any Western District Judge has issued an exemption; b) the MAP
   Director provides a written exemption; or c) the assigned or designated Neutral has
   determined that each participant requesting to engage via technology (defined in
   Section I.B.14) will comply with such Section and any guidelines issued by the Court,
   and the purpose of the Program can be achieved by such participation.



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    2. Required Participants

    The following individuals must personally participate in all ADR sessions unless
    excused by the MAP Director or by the MAP Judge:

       1. Lead trial counsel (In some instances, it may be appropriate for local counsel to
          also be included. If in doubt, include local counsel.);

       2. All named parties1;

       3. If insurance is involved2, an authorized insurance representative with full
          authority;

       4. Any other individual whose participation may be necessary to reach any
          agreement toward resolution, in whole or in part; and

       5. Any other individual required by any Western District Judge, an Outside
          Neutral, or the MAP Director.

G. Written Statements

Any Neutral may require ADR session statements, which may be mailed, sent via
facsimile, or e-mailed. Such writings shall not be filed with the Court, nor shall such
writings be submitted to the Judge assigned to hear the case.

H. Mediation and Other ADR-Related Activities

Any Neutral assigned to any case under the Program has discretion to conduct pre-
mediation and post-mediation and other ADR-related communications. The
communications may occur via telephone, e-mail, in person, virtually or otherwise to
facilitate the purpose of the Program. Such communications may include pre-session
conferences to address with the parties and/or counsel, individually or jointly, any of the

1
 If a named party is an LLC, partnership, business entity, or corporation, such party must
have an authorized representative with full authority on behalf of the LLC, partnership,
business entity, or corporation participate in the ADR session(s). An attorney of record for
such named party does not constitute an authorized representative under the General Order.
2
  If any insurance policies are involved in whole or in part in the case on behalf of any
named party, whether primary, excess, umbrella or otherwise, the appropriate
representative of the insurance carrier with full authority shall participate. A carrier
representative cannot be an attorney of record in the case. A third-party administrator who
lacks full authority to settle does not constitute an appropriate representative under the
General Order.



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following: 1) what discovery or additional discovery is needed; 2) a plan for sharing the
important information and/or conducting the key discovery that will equip the parties, as
expeditiously as possible, to enter meaningful resolution discussions; and 3) any other
matters to assist with meaningful discussions toward resolution. Such communications
shall be handled in accordance with Section IV. Any questions or concerns regarding
confidentiality should be addressed in a timely manner with the MAP Director.

I. Preparation and Engagement

Although settlement is not required under the Program, all participants are expected to
prepare for and engage in ADR consistent with the purpose of the Program. Any Neutral
or staff member of any Neutral may request communications via e-mail, facsimile,
virtually, or otherwise with one or more parties and/or counsel in advance of any ADR
session. Such requests should be addressed promptly and professionally to achieve the
purpose of the Program.

Conduct by a party or counsel under the Program with respect to preparation and/or
engagement may be grounds for sanctions by the Judge assigned to hear the case or by any
other Judge who may be assigned to consider sanctions. (Section VI.; see also Section
II.O.).

J. Status Reports

The MAP Director may request a status report from any party, counsel for any party, or the
Neutral assigned to the case under the Program at any time. Failure of the parties, counsel,
or any Neutral to timely provide requested information may be grounds for sanctions under
Section VI. (See also Section II.O.).

K. Post-Mediation and Other Post-ADR Reports

When an Outside Neutral conducts an ADR session, a post-ADR report, found as a fillable
PDF form on the Court’s website, shall be sent to the MAP Director and not filed with
ECF. The Report should be sent via e-mail or facsimile within 10 days after the ADR
session and shall include the following:

   1. the date and length of the session;

   2. whether all required parties and representatives participated, and if so, the mode of
      participation by all participants;

   3. whether or not the case settled;

   4. whether or not an additional session might be helpful in resolving the matter; and

   5. if additional assistance would help, the ideal timing of the next session, and the
      specific discovery necessary before additional assistance is productive.


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The report may be sent by the Outside Neutral, jointly by the parties, or separately by an
authorized representative of a party. As set forth in Section II.J. above, the MAP Director
may request additional information from any of the participants.

L. Notice of Settlement

If the parties settle the case prior to any ADR session, the MAP Director and the Court
shall be advised promptly.

M. Extensions

   1. Other than cases assigned to a MAP Judge, requests for extensions of Program
      deadlines and events shall be made in writing via e-mail or facsimile to the MAP
      Director no later than five (5) days after the Rule 26 conference, unless there is an
      exigent circumstance which warrants requesting an extension at a later time.

       The request shall detail and provide a good cause reason for the request and the
       opposing party’s position on the requested extension. The MAP Director may grant
       or deny the request in his or her discretion. Appeals from the MAP Director's
       decision, while discouraged, may be made by written motion to the Judge assigned
       to hear the case.

   2. If good cause exists to request a change in the date of ADR session set by the
      assigned MAP Judge, such request shall be made in writing to the MAP Judge
      within five (5) days after notice of the ADR session or within the timeframe
      otherwise set by the MAP Judge. The MAP Judge may grant or deny the request in
      his or her discretion. The decision of a MAP Judge on any such request is not
      appealable.

   3. If the MAP Director or the MAP Judge schedules an initial ADR session outside
      the 75-day period following the Rule 26 meeting, such scheduling operates as an
      automatic and acceptable extension under this Section without requiring any
      additional action by counsel or the parties.

N. Opting Out

Cases will not normally be allowed to opt out of the Program. However, there may be times
where good cause can be demonstrated for opting out. Absent exigent circumstances, opt
out requests shall be sent via e-mail or facsimile to the MAP Director and not filed in ECF
within three (3) days after the Rule 26 conference and detail the reasons for the request.

Consistent with the purpose of the Program, the MAP Director may grant or deny the
request in his or her discretion. Appeals from the Director's decision, while discouraged,
may be made by written motion to the Judge to whom the case is assigned.




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       O. Reports of Violations

       Absent any participant engaging in the Program in a manner which may require immediate
       reporting to law enforcement or a legal governing authority, potential violations of the
       Program shall be directed in writing via e-mail or facsimile to the MAP Director and should
       not be filed with the Court. In the event of a potential violation requiring an ECF filing,
       any party pursuing such filing should take steps for filing under seal consistent with Section
       IV.

       P. Questions

       Questions regarding the Program or requests for modification of the Program’s
       requirements should initially be directed to the Director and should not be filed with the
       Court.

       Written communications with the Director should be sent via e-mail or facsimile as
       follows:

              E-mail: map@mow.uscourts.gov
              Facsimile: (816) 512-5089

       Telephone calls may be directed to the MAP Office at (816) 512-5080.

III.   PROVISIONS GOVERNING NEUTRALS

       A. Role

       A Neutral must avoid any financial interest in the case or with any of the participants in
       the case and must comply with all applicable oaths and/or recognized applicable standards.

       Depending on the form of ADR used, the Neutral may exercise discretion to give to any or
       all participants:

          1. an estimate, where feasible, of the likelihood of liability and the dollar range of
             damages;

          2. an opinion of the verdict or judgment if he or she were the trier of fact;

          3. an assessment of key evidentiary and tactical issues; and

          4. a nonbinding, reasoned evaluation of the case on its merits, including addressing
             the strengths and weaknesses of the case.

       A Neutral may not give the participants legal advice even if one or more of the
       participants is pro se.




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A Neutral does not rule upon questions of fact or law and may not render any final
judgment in the case. A Neutral’s neutral evaluation or early neutral evaluation does not
constitute legal advice nor serve as a final judgment.

A Neutral does not have the power to impose a settlement or to dictate any agreement
regarding the pretrial management of the case. This provision shall not preclude the parties
from reaching an agreement with assistance from the Neutral as to the appropriate
exchange of information to facilitate the purpose of the Program, so long as it does not
contradict or conflict with the Scheduling Order or any other case management order.

For cases assigned to a MAP Judge which are settled, settlement terms may be put on the
record consistent with the confidentiality provisions in Section IV. If a settlement needs to
be put on the record and the ADR session is not with a MAP Judge, the parties are
responsible for making the necessary arrangements for the record consistent with the
confidentiality provisions of Section IV.

B. Oath

Before acting as a Neutral, the individual shall agree to and sign the oath or affirmation
prescribed under the Program to: 1) faithfully and impartially discharge and perform all
duties incumbent under the Constitution of the United States and the Constitution of
Missouri; and 2) serve with dignity and respect and in accordance with the Program and
any other applicable standards and/or rules.

C. Disqualification

Any party who believes that a Neutral has a conflict of interest or should be disqualified
shall request a conference with the MAP Director (to discuss the conflict of interest or
disqualification) (so that the matter can be addressed and resolved without involvement of
the Judge assigned to hear the case).

D. Procedures for Cases in Outside Neutral Category I

    1. Selection of Outside Neutral

       a. Designation. The parties or their counsel shall within fourteen (14) days after
          the Rule 26 meeting select a mediator from the List of Neutrals – Category I,
          and electronically file a Designation of Neutral notice as an ADR event in ECF
          with the following information: 1) the date, time, and location3 of mediation;
          and 2) the mediator’s name. If the Director has consented to the use of a Neutral
          not on the List of Neutrals, the designation should state that the Neutral has
          been approved by the Director. Requests to use a Neutral not on the List shall
          be submitted at least five (5) days prior to the date for filing the Designation via

3
 If the parties are authorized to engage in a virtual ADR session, the Designation shall state
the mode of participation.


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           e-mail or facsimile to the Director and shall include the reason for the request
           along with the proposed neutral’s bio or CV. The Director has the discretion
           whether to approve an individual not on the List and the Director’s decision is
           not appealable.

       b. No Agreement. If the parties do not agree on, or choose not to select, an
          Outside Neutral to conduct Mediation (ADR-M), the Director will give the
          parties a list of potential mediators selected by the Director. The number of
          potential mediators on the list will be twice the number of "sides" in the
          litigation plus one. (For example, in litigation having two "sides," the list will
          contain five names.) The parties shall have seven (7) days from the date on the
          list of potential mediators to:

           i. agree as to a mediator on the list and to report the selection of the agreed
              mediator to the Director in writing, or

           ii. designate a "strike" of the names of two potential mediators on the list of
               potential mediators. The strikes shall be in writing and shall be delivered to
               the Director, preferably by e-mail or facsimile.

           Unless the parties have agreed on a mediator as set out above, the Director shall
           designate one of the persons remaining on the list of potential mediators and
           shall promptly notify the parties and the mediator of the designation.

           Upon failure of counsel to file the Designation of Neutral with all required
           information or to secure a mutually agreeable date, the Director may fix the
           date, time, place, and mode for the ADR session.

E. Procedures for Cases in Outside Neutral Category II

With assignments to Outside Neutral Category II, the MAP Director will assign a Neutral
to the case from individuals on the List of Neutrals – Category II. The MAP Director will
provide written notification of the Neutral assignment along with the Neutral’s contact
information to the parties. The parties are then required to contact the Neutral to schedule
mediation, although the parties may request from the Director an ADR-O within five (5)
days after receiving written notification from the Director of the assigned Neutral.

If the parties agree to proceed with ADR-M, they must file a Designation of Neutral (ADR
event in ECF) within ten (10) days after receiving written notification from the MAP
Director of the Neutral’s contact information. The Designation of Neutral shall contain the
Neutral’s name and the date, time, place, and mode of mediation. If the parties request and
are permitted to engage in ADR-O in lieu of ADR-M, the MAP Director will work with
the parties on the method of ADR-O requested consistent with the purpose of the MAP
General Order.




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If there is a conflict with the Neutral selected by the Director or the parties exhibit good
cause that they cannot proceed with the assigned Neutral, the parties must immediately
advise the Director in writing via e-mail or facsimile of the conflict or reason for good
cause. The Director has discretion to determine how to proceed. The Director’s
determination of how to proceed is not appealable.

F. Date of Mediation (ADR-M) or ADR Option Session (ADR-O)

Section II.C. governs the timeframe within which ADR-M or ADR-O shall occur. The
Outside Neutral may, with the consent of all parties and counsel, reschedule the ADR
session to a date not later than ten (10) days after the scheduled date. Any continuance
beyond that time or any continuance of the ADR session deadline itself must be approved
by the Director in accordance with Section II.M.

G. List of Neutrals

   1. Category I

   The Director shall prepare a list of persons who appear to have the minimum
   requirements to serve as a Neutral, with primary consideration being given to
   individuals who meet the requirements to serve as a Mediator since Mediation is the
   primary form of ADR offered by the Program. The Director has the sole discretion
   whether to include an individual on the List of Neutrals and the decision of the Director
   is not appealable.

   Being on the List is not an endorsement by the Director or the Court of any
   individual’s qualifications for any case.

   2. Category II

   The Director shall prepare a list of persons, not to exceed 25, who have been selected
   as meeting the qualifications necessary to be considered for assignment to cases at the
   determination of the Director. Selection to the Category II List is based in part on a
   review by the MAP Director and a Western District Judge.

   Any individual placed on the Category II List shall be on the List for a period not to
   exceed three (3) years, with individuals on the initial List holding staggered terms.
   Renewals thereafter will be based on guidelines under the Program absent removal
   from the List in accordance with Section III.I.

H. Placement on List of Neutrals

Any applicant to the List of Neutrals, whether Category I or Category II, must attest to the
following: 1) they have not demonstrated any trait or behavior that is reasonably believed
to be contrary to the effective and efficient management of the Program; 2) they are not the
subject of any disciplinary proceeding or law enforcement investigation which involves



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truthfulness or other matters contrary to the administration of justice; and 3) they agree to
serve pro bono periodically as assigned by the Director or any Western District Judge. The
Director may require that an applicant provide a suitable reference letter from a colleague,
judge, court administrator, or ADR training provider attesting to the person’s suitability for
the Program, including a reference as to the applicant’s character. Any applicant able to
provide the required attestation may be considered for placement on the List of Neutrals if
the applicant also meets the requirements within any classification below:

 Classification                Requirements

                               Admitted to and in good standing before this Court;

                               Exposure to Mediation in federal court or have mediated
                               cases in other settings or otherwise have suitable and
                               substantial ADR experience consistent with the purpose of
                               the Program;
 Attorneys
                               Admitted to the practice of law for at least five (5) years;
                               and

                               Completed at least 16 hours of Mediation or other
                               appropriate ADR training (other than exclusively on-line)
                               or been certified under Missouri Rule 17 or its equivalent.


                               Who have served as a United States Judge or Judge for the
                               State of Missouri in one or more of the following roles:
                               Appellate Judge, District Judge, Magistrate Judge,
 Current or Former             Bankruptcy Judge, Circuit Judge; and
 Judges
                               Completed at least 16 hours of Mediation or other
                               appropriate ADR training (other than exclusively on-line)
                               or been certified under Missouri Rule 17 or its equivalent.


                               Obtained a degree or extensive specialized training in
                               alternative dispute resolution, conflict management, or
                               another discipline; and
 Non-Attorneys
                               Completed at least 16 hours of Mediation or other
                               appropriate ADR training (other than exclusively on-line)
                               or been certified under Missouri Rule 17 or its equivalent.


 Other Individuals             Individuals (whether attorneys, non-attorneys, and/or
                               current and/or former judges) who do not otherwise meet


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                               the specific requirements to be on the List but whom the
                               Director determines to be appropriately qualified to
                               conduct ADR-M or ADR-O consistent with the purpose of
                               the Program.


All individuals selected to be on the List of Neutrals (Category I or Category II) must
update their contact and hourly rate information and provide other information as requested
by the Director annually but no later than September 1 of each year.

I. Removal from List of Neutrals

The MAP Director may remove any person from the List of Neutrals, Category I or
Category II, for any reason consistent with the management of the Program, including but
not limited to the Outside Neutral’s failure to: provide required reports, attend any required
training sessions, contribute pro bono Mediation or other pro bono ADR services if
requested, timely mediate or conduct other ADR, comply with the purpose of the Program,
or adhere to obligations under or behaviors consistent with the effective and efficient
management of the Program. The Director’s decisions regarding removal are not
appealable.

J. Compensation

   1. An Outside Neutral on the List of Neutrals, Category I or Category II, shall be
      compensated at no more than the hourly rate listed by them in their application filed
      with the Director and shown on the List of Neutrals, which may be updated on the
      List of Neutrals at the request of the Outside Neutral. An Outside Neutral may
      charge for reasonable and necessary preparation time and for reasonable and
      necessary follow-up after any ADR session. If agreed in writing and in advance
      between the Outside Neutral and the parties, the Outside Neutral may be
      compensated at a different hourly rate or by an alternative arrangement as stated in
      such agreement. An Outside Neutral may also charge for the reasonable and
      necessary use of a co-mediator, provided all parties consent in advance of the ADR
      session.

   2. The MAP Director may promulgate additional guidelines for Outside Neutrals for
      allowable charges (e.g., for research, preparation, opinion writing, etc.) and
      expenses, but is not responsible for the collection or payment of any allowable
      charges or expenses.

   3. Absent agreement to the contrary, or unless the Director determines otherwise, the
      cost of the Outside Neutral’s services shall be borne equally by the parties.

   4. Except as provided in this section, a Neutral shall not charge or accept anything of
      value from any source connected with a case in which the Neutral is serving under
      the Program.



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      K. Neutrals as Counsel in Other Cases

      Any person who is designated as an Outside Neutral pursuant to this General Order,
      whether Category I or Category II, shall not for that reason be disqualified from appearing
      as counsel in any other unrelated case pending before the Court.

      L. Other Participation

      In the discretion of the Neutral and with the agreement of the parties, and barring any other
      conflict of interest as determined by the Neutral, a Neutral may allow the following
      individuals to attend an ADR session provided all such individuals agree to abide by the
      provisions of the MAP General Order and any applicable confidentiality agreement: 1) a
      spouse, partner, or support person of a party; b) an observer such as a student or law clerk;
      or 3) a co-neutral or co-facilitator who is or is not an attorney (such as a therapist, physician,
      clergy, or other appropriate individual). A MAP Judge assigned to a case has the discretion
      to have a staff member or intern participate in an ADR session without the agreement of
      the parties provided that, in the opinion of the MAP Judge, there is not otherwise a conflict
      of interest.

IV.   CONFIDENTIALITY

      A. General Provision

      This Court, the parties, their counsel, any Neutral, or any other participant in the Program
      shall treat as confidential the contents of any ADR session statement or materials, whether
      via e-mail, facsimile or otherwise, or anything said in connection with any ADR session,
      to the extent consistent with the General Order and the purpose of the Program, including
      any position taken and any views of the case as expressed by any participant or Neutral.
      Confidential information shall not be disclosed to: 1) anyone not involved in the litigation;
      2) the assigned Judge; or 3) for any impeachment in any pending or future proceeding in
      this Court or any other forum, unless otherwise excepted in Section IV.B. below.

      No Neutral shall be inquired of or called as a witness or deponent in any proceeding
      related to the dispute in which the Neutral served nor be compelled to produce
      documents that the Neutral received or prepared for any ADR session, including
      documents prepared by any staff person acting at the direction of any Neutral.

      Any questions or concerns regarding confidentiality should be addressed in a timely
      manner with the MAP Director.

      B. Exceptions

      The General Provision regarding confidentiality does not prohibit:




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1. Disclosure as stipulated in writing by all parties, counsel, and the Neutral.

2. Disclosure of a fully executed term sheet, settlement agreement, or resolution
   placed on the record to enforce a settlement except that, in the event any portion of
   such sheet, agreement or resolution contains a confidentiality provision, the parties
   shall take appropriate steps for submission under seal and/or for a protective order
   and shall not disclose confidential information unless ordered by this Court.

3. Disclosure of activity by any participant in the Program that requires mandatory
   reporting, or which is required by court order.

4. Disclosure of a threat or plan to inflict bodily harm or commit a violent crime.

5. Disclosure made in a subsequent confidential ADR session in that same case, or
   which involves one or more of the parties that were involved in a prior and related
   confidential ADR session.

6. Disclosure, discoverability, or admissibility of information or documents otherwise
   discoverable under the Federal Rules of Civil Procedure simply because of its
   introduction or use in any ADR session.

7. The Neutral, parties and/or counsel providing ADR session reports or status reports
   to the Director or other reports requested by the Director.

8. The Neutral, parties, and/or counsel otherwise providing information to the
   Director regarding a possible violation of this General Order.

9. The Neutral or Director from advising the assigned Judge or Court en banc
   regarding noncompliance by any parties, ADR participants, and/or any counsel
   with this General Order.

10. The Director from attending any Program session and/or discussing or otherwise
    communicating with any MAP participant, any communication, comment,
    assessment, evaluation, or recommendation consistent with the purpose of the
    Program.

11. The parties, counsel, the Neutral, or Director from responding to inquiries by
    persons duly authorized by the Court to analyze and evaluate the Program. The
    names of the people responding and any information that could be used to identify
    specific cases or parties shall be confidential.

12. If the parties utilize an ADR-O where confidentiality may not be appropriate, the
    Neutral shall require all parties and counsel to sign a written agreement that


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              confidentiality is not applicable, in whole or in part, although a MAP Judge may
              serve as a Neutral in ADR-O without a written agreement.

       C. No Recording

       No recording shall be made of any ADR session, nor shall the parties or their counsel utilize
       private court reporters or any other type of recording technology during any ADR session
       unless all parties agree in writing (e.g., binding arbitration).

       D. Confidentiality Agreement

       The Neutral may require any participant in any ADR session to sign a confidentiality
       agreement. The Neutral may decline to conduct any ADR session if any participant
       declines to sign a confidentiality agreement.

V.     EVALUATION

       The Court may require evaluation of the Program to: 1) determine the success of the
       Program in expediting the processing of cases and reducing costs; 2) measure the
       satisfaction of the parties with the Program; 3) explore enhancements or changes to the
       Program; and/ or 4) compare components or elements of the Program.

VI.    SANCTIONS
       The Judge assigned to the case or any other Judge who may be referred a case for
       consideration of sanctions under the Program may sanction any party and/or counsel for:
       1) refusing to cooperate or timely cooperate in the Program; 2) failing to timely comply
       with requests consistent with the Program; 3) failing to participate in the Program
       consistent with the provisions and spirit of the General Order; and/or 4) failing to abide by
       any rule or guidelines applicable to any participant in the Program.

VII.   ROLE OF DIRECTOR

       A. Selection

       The MAP Director shall be selected by the Court.

       B. Director Responsibilities

       In addition to any responsibilities or duties noted elsewhere in this General Order or as
       assigned by the Chief Judge, the MAP Director shall have the following responsibilities:

          1. Case Assignment and Program Oversight

              Oversee the assignment, and where necessary reassignment, of cases in the
              Program, and select Neutrals from the Category II List for cases assigned to


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   Category II. To the extent not otherwise handled automatically by ECF, assign
   cases for Mediation or an ADR Option Session to: United States Magistrate Judges,
   United States Bankruptcy Judges, Outside Neutrals, the Director, and if a United
   States District Court Judge consents to the assignment, cases may be assigned to a
   United States District Court Judge.

   Require, in his or her discretion, parties to submit ADR session statements or
   materials, of a reasonable length at an appropriate time in advance of any ADR
   session, including Mediation, and request other documents and information as
   appropriate.

   Assist in monitoring the evaluation of the Program, including participation in the
   development, compilation and analysis of surveys, questionnaires and focus groups
   for counsel, parties, and other participants.

   Select, organize, and lead, in his or her discretion, a group or advisory board to
   provide input and suggestions for the Program as needed and as time permits.

   Conduct ADR sessions in the Director’s discretion and as time permits.

   Direct and administer the Program, including any pilot programs, and/or develop
   guidelines, protocols, and rules consistent with this General Order and coordination
   of all activities with the office of the Western District Clerk.

   Develop policies to address the collection of files, written statements, and other
   confidential materials for storage and destruction.

2. Training and Oversight of Neutrals and Participants

   Require individuals on the List of Neutrals, Category I or Category II, to serve pro
   bono if needed for selected cases, whether as a Neutral or as counsel for a pro se
   individual for the limited purpose of an ADR session(s). Such assignment shall be
   made using a fair process in the sole discretion of the MAP Director. The MAP
   Director shall develop guidelines for determining whether a case qualifies for pro
   bono assignment.

   Organize and conduct, in the Director’s discretion, training or other sessions for
   participants in the Program, including Neutrals.

   Timely review, and if necessary, investigate complaints concerning the conduct of
   any participant in the Program to determine the appropriate course of action,
   including potential reporting of violations to the assigned Judge for consideration
   of sanctions under Section VI. The Director shall not be called as a witness or
   deponent in any dispute or be compelled to produce documents prepared by the
   Director in connection with any investigation.




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3. Reporting to the Court and Advancing ADR

   Report to the Court on the status of the Program and make appropriate
   recommendations for modifications of the Program.

   As time permits, assist other courts in implementing and developing ADR.

   Teach courses on ADR and allow law clerks, students and others to attend ADR
   sessions as appropriate and consistent with the Program and as time permits.




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                                                                   August 1, 2023
